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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
BRIAN FISCHLER, Individually and on            ECF CASE
behalf of all other persons similarly
situated,
                                               No.: ____________________
               Plaintiff,
                                               CLASS ACTION COMPLAINT
       v.
                                               JURY TRIAL DEMANDED
MEADE DIGITAL ENTERPRISES
CORP. D/B/A FULTON FISH MARKET,

               Defendant.


                                    INTRODUCTION

       1.      Plaintiff Brian Fischler, who is legally blind, brings this civil rights action

against Defendant Meade Digital Enterprises Corp. d/b/a Fulton Fish Market

(“Defendant”) for its failure to design, construct, maintain, and operate its website,

https://fultonfishmarket.com/ (the “Website”), to be fully accessible to and independently

usable by Plaintiff Fischler and other blind or visually-impaired people.

       2.      Plaintiff Fischler, individually and on behalf of others similarly situated,

asserts claims under the Americans With Disabilities Act (“ADA”), New York State

Human Rights Law (“NYSHRL”), and New York City Human Rights Law (“NYCHRL”)

against Defendant.

       3.      Plaintiff Fischler seeks a permanent injunction to cause Defendant to

change its corporate policies, practices, and procedures so that its Website will become

and remain accessible to blind and visually-impaired consumers.




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                                       THE PARTIES

       4.      Plaintiff Fischler is, at all relevant times, a resident of Astoria, New York,

Queens County. As a blind, visually-impaired handicapped person, he is a member of a

protected class of individuals under Title III of the ADA, under 42 U.S.C. § 12102(1)-(2),

and the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the

NYSHRL and NYCHRL.

       5.      Upon information and belief, Defendant is at all relevant times a foreign

business corporation that is organized under New York law and is authorized to do

business in the State of New York. Defendant does business in the State by advertising

its goods and services in New York.

                              JURISDICTION AND VENUE

       6.      This Court has subject-matter jurisdiction over this action under 28 U.S.C.

§ 1331 and 42 U.S.C. § 12181, as Plaintiff Fischler’s claims arise under Title III of the

ADA, 42 U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.

       7.      This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over

Plaintiff Fischler’s NYSHRL, N.Y. Exec. Law Article 15, and NYCHRL, N.Y.C. Admin.

Code § 8-101 et seq., claims.

       8.      Venue is proper in this District under 28 U.S.C. §§1391(b)(1), 1391(d)

because Defendant’s corporate headquarters is located in this District and it would

thereby be considered a resident of this District if it was a separate state.

       9.      This Court is empowered to issue a declaratory judgment under 28 U.S.C.

§§ 2201 and 2202.




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                                 NATURE OF ACTION

       10.     The COVID-19 pandemic has shifted the world into an almost entirely

online model. Restaurants need a website for customers to place pick-up and delivery

orders. Entertainment venues are delivering performances to audiences via its Websites

or other online streaming services. Our educational institutions, including private schools

and Universities have shifted to a virtual classroom with distance-learning being the new

normal. Furthermore, with store closures or capacity limitations, stores are relying on its

Websites to serve as the fundamental point of contact between its business and

consumers. In order for blind and visually impaired consumers to access these Websites,

its must use screen reading software.

       11.     Blind and visually-impaired people can access websites using keyboards

in conjunction with screen access software that vocalizes the visual information found on

a computer screen or displays the content on a refreshable Braille display. This

technology is known as screen-reading software. Screen-reading software is currently the

only method a blind or visually impaired person may independently access the Internet.

Unless websites are designed to be read by screen-reading software, blind and visually

impaired persons are unable to fully access websites, and the information, products, and

services contained thereon.

       12.     Blind and visually impaired users of computers and devices have several

screen-reading software programs available to them. Some of these programs are

available for purchase and other programs are available without the user having to

purchase the program separately. Job Access With Speech (“JAWS”), Talk Back and

Voiceover are currently the most popular screen-reading programs.




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        13.     For screen-reading software to function, the information on a website must

be capable of being rendered into text. If the website content is not capable of being

rendered into text, the blind or visually impaired user is unable to access the same content

available to sighted users.

        14.     The international website standards organization, the World Wide Web

Consortium, known throughout the world as W3C, has published version 2.1 Levels A

and AA of the Web Content Accessibility Guidelines (“WCAG 2.1”). WCAG 2.1 are

well-established guidelines for making websites accessible to blind and visually impaired

people. These guidelines are universally followed by most large business entities and

government agencies to ensure its websites are accessible.

        15.     For a website to be equally accessible to a blind or visually impaired

person, under these guidelines, it should have following:

                a.      Alternative text (“alt-text”) or text equivalent for every non-text

element. Alt-text is an invisible code embedded beneath a graphical image on a website.

Web accessibility requires that alt-text be coded with each picture so that screen-reading

software can speak the alt-text where a sighted user sees pictures, which includes captcha

prompts. Alt-text does not change the visual presentation, but instead a text box shows

when the mouse moves over the picture. The lack of alt-text on these graphics prevents

screen readers from accurately vocalizing a description of the graphics, depriving that

person from knowing what is on the website.

                b.      Videos have audio description.

                c.      Title frames with text are provided. Absent these titles, navigating

a website is particularly difficult.




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                d.     Webpage headings are properly labeled with the topic or purpose

of the webpage, versus being blank. Screen readers read out page headings, allowing

users to quickly skip to a section. Navigation is, however, very difficult without those

headings.

                e.     Equivalent text is provided when using scripts.

                f.     Forms may be completed with the same information and

functionality as for sighted persons. Absent forms being properly labeled, it is difficult

for a visually impaired or blind individual to complete the forms, as they do not know

what the fields, how to input data, or what options to select (e.g., selecting a date or a

size). A compliant website will, instead, provide labels or instructions when content

requires user input. This includes captcha prompts, requiring the user to verity that he or

she is not a robot.

                g.     Information about the meaning and structure of content is

conveyed by more than the visual presentation of content.

                h.     Web pages do not share the same ID or title. When two or more

elements on a web page share the same ID or title, it cause problems in screen readers

which use IDs for labeling controls and table headings.

                i.     Linked images must contain alt-text explaining the image. Absent

that alt-text, a screen reader has no content to present the user as to what the image is.

                j.     The purpose of each link is easily determined from how the link is

labeled. Absent properly labeling each link or when no description exists, it confuses

keyboard and screen-reader users as they do not know the purpose of the links. This

includes captcha prompts.




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               k.       No redundant links where adjacent links go to the same URL

address. When redundant links exist, it causes additional navigation and repetition for

keyboard and screen-reader users.

               l.       Portable Document Formats (PDFs) are accessible. When they are

inaccessible, the visually impaired or blind individual cannot learn what information is on

them.

               m.       One or more keyboard operable user interface has a mode of

operation where the keyboard focus indicator is discernible.

               n.       Changing the setting of a user interface component does not

automatically cause a change of content where the user has not been advised before using

the component.

               o.       The name and role of all user interface elements can be

programmatically determined; items that can be set by the user can be programmatically

set; and/or notification of changes to these items are available to user agents, including

assistive technology.




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                                STATEMENT OF FACTS

Defendant, Its Website And Its Website’s Barriers

       16.     Defendant is the largest seafood market that offers assortment and quality

seafood online. On its Website, customers can shop by cuts or fish, order shellfish, and

purchase specialty items, such as octopus, eel, caviar and much more. Customers can also

purchase bundles, pantry items, and gift cards. Defendant also advertises that it delivers

food to the United States, including New York.

       17.     The Website is a commercial marketplace. Through the Website,

Defendant’s customers can order from a large assortment of fish, shellfish, specialty

items, pantry items and bundles, get seafood recipes and cooking advice, get contact

information, read the blog, read customer reviews, and purchase e-gift cards. It is also

where potential customers can get answers to frequently asked questions, get coupons,

and learn more about Defendant’s company.

       18.     It is, upon information and belief, Defendant’s policy and practice to deny

Plaintiff Fischler and other blind or visually-impaired users access to its Website, thereby

denying the facilities and services that are offered and integrated with its online retail

operations. Due to its failure and refusal to remove access barriers to its Website, Plaintiff

Fischler and visually-impaired persons have been and are still being denied equal access

to Defendant’s online retail operations and the numerous facilities, goods, services, and

benefits offered to the public through its Website.

       19.     Plaintiff Fischler cannot use a computer without the assistance of screen-

reading software. He is, however, a proficient screen-reader user and uses it to access the

Internet. He has visited the Website on separate occasions using screen-reading software.




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       20.      During his visits to the Website, the last occurring on or about December

28, 2021, Plaintiff Fischler encountered multiple access barriers that denied him full and

equal access to the facilities, goods, and services of the Website, as well as to the goods,

and services of Defendant’s online retail operations. Because of these barriers he was

unable to, substantially equal to sighted individuals:

       21.      Know what is on the Website. This is due in part to the fact that images

are poorly labeled with no alternative text. Throughout the Website, all the images are not

detected by the screen reader. For example, when accessing the Lobster product home

page, all the images depicting the different Lobster products were not detected by the

screen reader. Throughout the Website, Plaintiff Fischler experienced problems with

screen reader focus. For example, when clicking on “Shellfish” from the main menu

option, sighted users get a drop-down menu with a list of the different Shellfish products

a customer can select from. However, when Plaintiff Fischler clicks on “Shellfish” from

the main menu option, screen reader focus is automatically thrown to the bottom of the

page and placed on the “sign up for newsletter” option. Plaintiff Fischler encountered the

same problems when he tried to access the Website’s Frequently Asked Questions and

the Coupon and Exclusions home page. When accessing the Frequently Asked Questions

home page, screen reader focus was again automatically thrown to the bottom of the page

and placed on the “sign up for newsletter” option. Moreover, when Plaintiff Fischler was

finally able to adjust screen reader focus on the frequently asked questions information,

the screen reader was only able to detect the General FAQs and therefore Plaintiff was

unable to access the frequently asked questions for Shipping, Storage and Handling, and

other topics.




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       22.     Navigate the Website. Plaintiff Fischler had difficulty navigating this

Website. When Plaintiff Fischler accessed the Luke’s Lobster – Frozen Lobster Roll Kit

product home page, the image depicting the food was not detected by the screen reader.

Additionally, when accessing the Frozen Lobster Roll Kit product home page, sighted

users get product details information, nutrition information, and frequently asked

questions and answers about the product. However, these options are not detected by the

screen reader and are inaccessible to Plaintiff Fischler. The “Add to Cart” link on the

Frozen Lobster Roll Kit product home page was not detected by the screen reader and

therefore Plaintiff Fischler was unable to add the Frozen Lobster Roll Kit or any of

Defendant’s products to his cart. Also, elements throughout the Website are not properly

labeled, therefore without sighted assistance, screen reader users, like Plaintiff Fischler,

could miss a great deal of content. Because there is no way for Plaintiff Fischler to order

any of Defendant’s products online, he ultimately abandoned the process and was unable

to complete the checkout process.

       23.     Plaintiff Fischler was denied full and equal access to the facilities and

services Defendant offers to the public on its Website because he encountered multiple

accessibility barriers that visually-impaired people often encounter with non-compliant

Website:

               a.     Images are not properly labeled.

               b.     Elements are not properly labeled.

               c.     Fieldset elements are not labeled with legend elements.

               d.     All onclick handlers do not have an equivalent onkeyup or

onkeydown handler.




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                e.     Content inserted with CSS is not read by some screen readers, and

not available to people who turn off style sheets.

                f.     Document titles are blank.

                g.     Frame elements do not have title attributes.

                h.     Label elements are not attached to the controls they label.

                i.     Button element groups are empty and have no programmatically

determined name.

                j.     Form controls have blank labels or titles.

                k.     Form controls have no label and no programmatically determined

name.

                l.     Forms have fields without label elements or title attributes.

                m.     Webpages have images that flash more than three times in any one

second period, which can trigger seizures in people with photosensitive seizure disorders.

                n.     Webpages have markup errors.

                o.     Headings are not nested correctly.

                p.     Headings are empty.

                q.     Form field labels are not unique on a page or enclosed in a fieldset

with a legend that makes the label unique.

                r.     Several links on a page share the same link text, but go to different

destinations.

                s.     Links use general text with no surrounding text explaining links’

purpose.




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Defendant Must Remove Barriers to Its Website

       24.     Due to the inaccessibility of its Website, blind and visually-impaired

customers such as Plaintiff Fischler, who need screen-readers, cannot fully and equally

use or enjoy the facilities, goods, and services Defendant offers to the public on its

Website. The Website’s access barriers that Plaintiff Fischler encountered have caused a

denial of his full and equal access in the past, and now deter him on a regular basis from

accessing the Website. These access barriers have likewise deterred him from visiting

Defendant’s Website and taking advantage of its online retail operations and enjoying it

equal to sighted individuals.

       25.     If the Website was equally accessible to all, Plaintiff Fischler could

independently navigate it, learn about Defendant’s product, get recommendations and

complete a desired transaction as sighted individuals do.

       26.     Through his attempts to use the Website, Plaintiff Fischler has actual

knowledge of the access barriers that make these services inaccessible and independently

unusable by blind and visually-impaired people.

       27.     Because simple compliance with the WCAG 2.1 Guidelines would

provide Plaintiff Fischler and other visually-impaired consumers with equal access to the

Website, Plaintiff Fischler alleges that Defendant has engaged in acts of intentional

discrimination, including, but not limited to, the following policies or practices:

               a.      Constructing and maintaining a website that is inaccessible to

visually-impaired individuals, including Plaintiff Fischler;




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                  b.     Failing to construct and maintain a website that is sufficiently

intuitive to be equally accessible to visually-impaired individuals, including Plaintiff

Fischler; and,

                  c.     Failing to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind and visually impaired consumers, such as

Plaintiff Fischler, as a member of a protected class.

       28.        Defendant therefore uses standards, criteria or methods of administration

that have the effect of discriminating or perpetuating the discrimination of others, as

alleged herein.

       29.        Title III of the ADA expressly contemplates the injunctive relief that

Plaintiff Fischler seeks under 42 U.S.C. § 12188(a)(2).

       30.        Because its Website has never been equally accessible, and because

Defendant lacks a corporate policy that is reasonably calculated to cause its Website to

become and remain accessible, Plaintiff Fischler seeks a permanent injunction under 42

U.S.C. § 12188(a)(2) requiring Defendant to retain a qualified consultant acceptable to

Plaintiff Fischler to assist Defendant to comply with WCAG 2.1 guidelines for its

Website:

                  a.     Remediating the Website to be WCAG 2.1 compliant;

                  b.     Training Defendant’s employees and agents who develop the

Website on accessibility compliance under the WCAG 2.1 guidelines;

                  c.     Regularly checking the accessibility of the Website under the

WCAG 2.1 guidelines;




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                d.     Regularly testing user accessibility by blind or vision-impaired

persons to ensure that Defendant’s Website complies with the WCAG 2.1 guidelines;

and,

                e.     Developing an accessibility policy that is clearly disclosed on

Defendant’s Website, with contact information for users to report accessibility-related

problems.

          31.   Although Defendant may currently have centralized policies on

maintaining and operating its Website, Defendant lacks a plan and policy reasonably

calculated to make the Website fully and equally accessible to, and independently usable

by, blind and other visually impaired individuals.

          32.   Without injunctive relief, Plaintiff Fischler and other visually impaired

consumers will continue to be unable to independently use the Website, violating its

rights.

          33.   Defendant has, upon information and belief, invested substantial sums in

developing and maintaining its Website and has generated significant revenue from the

Website. These amounts are far greater than the associated cost of making its Website

equally accessible to visually impaired customers.

          34.   Defendant has failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.

                            CLASS ACTION ALLEGATIONS

          35.   Plaintiff Fischler seeks to certify a nationwide class under Fed. R. Civ. P.

23(a) and 23(b)(2): all legally blind individuals in the United States who have attempted

to access Defendant’s Website and as a result have been denied equal access to




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Defendant’s Website and its online retail operations during the relevant statutory period

(“Class Members”).

       36.    Plaintiff Fischler seeks to certify a State of New York subclass under Fed.

R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in the State of New York who

have attempted to access the Website and as a result have been denied equal access to

Defendant’s Website and its online retail operations during the relevant statutory period

(“New York Subclass Members”).

       37.    Plaintiff Fischler seeks to certify a New York City subclass under Fed. R.

Civ. P. 23(a) and 23(b)(2): all legally blind individuals in the City of New York who have

attempted to access the Website and as a result have been denied equal access to

Defendant’s Website and its online retail operations during the relevant statutory period

(“New York City Subclass Members”).

       38.    Common questions of law and fact exist amongst the Class Members,

New York Subclass Members and New York City Subclass Members:

              a.      Whether     Defendant’s    website    is   a   place   of   “public

accommodation”;

              b.      Whether Defendant’s Website is a commercial marketplace;

              c.      Whether the Website is a “public accommodation” or a service or

good “of a place of public accommodation” under Title III of the ADA;

              d.      Whether the Website is a “place or provider of public

accommodation” or an “accommodation, advantage, facility or privilege” under the

NYSHRL or NYCHRL;




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               e.      Whether the Website denies the full and equal enjoyment of its

goods, services, facilities, privileges, advantages, or accommodations to people with

visual disabilities, violating Title III of the ADA; and

               f.      Whether the Website denies the full and equal enjoyment of its

goods, services, facilities, privileges, advantages, or accommodations to people with

visual disabilities, violating the NYSHRL or NYCHRL.

       39.     Plaintiff Fischler’s claims are typical of the Class Members, New York

Subclass Members and New York City Subclass Members: they are all severely visually

impaired or otherwise blind, and claim that Defendant has violated Title III of the ADA,

NYSHRL or NYCHRL by failing to update or remove access barriers on its Website so it

can be independently accessible to the visually impaired individuals.

       40.     Plaintiff Fischler will fairly and adequately represent and protect the Class

and Subclasses’ interests because he has retained and is represented by counsel

competent and experienced in complex class action litigation, and because he has no

interests antagonistic to the Class or Subclasses. Class certification of the claims is

appropriate under Fed. R. Civ. P. 23(b)(2) because Defendant has acted or refused to act

on grounds generally applicable to the Class and Subclasses, making appropriate both

declaratory and injunctive relief with respect to Plaintiff, the Class and Subclasses.

       41.     Alternatively, class certification is appropriate under Fed. R. Civ. P.

23(b)(3) because fact and legal questions common to Class and Subclass Members

predominate over questions affecting only individuals, and because a class action is

superior to other available methods for the fair and efficient adjudication of this litigation.




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          42.   Judicial economy will be served by maintaining this lawsuit as a class

action in that it is likely to avoid the burden that would be otherwise placed upon the

judicial system by the filing of numerous similar suits by people with visual disabilities

throughout the United States.

                          FIRST CAUSE OF ACTION
                 VIOLATIONS OF THE ADA, 42 U.S.C. § 12181 et seq.

          43.   Plaintiff Fischler, individually and on behalf of the Class Members,

repeats and realleges every allegation of the preceding paragraphs as if fully set forth

herein.

          44.   Title III of the ADA prohibits “discriminat[ion] on the basis of disability

in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

or accommodations of any place of public accommodation by any person who owns,

leases (or leases to), or operates a place of public accommodation.” 42 U.S.C. § 12182(a).

          45.   Defendant’s Website is a commercial marketplace and a public

accommodation under Title III of the ADA, 42 U.S.C. § 12181(7). Its Website is a

service, privilege, or advantage of Defendant’s online retail operations. The Website is a

service that is integrated with its online retail operations.

          46.   Under Title III of the ADA, it is unlawful discrimination to deny

individuals with disabilities the opportunity to participate in or benefit from the goods,

services, facilities, privileges, advantages, or accommodations of an entity. 42 U.S.C. §

12182(b)(1)(A)(i).

          47.   Under Title III of the ADA, it is unlawful discrimination to deny

individuals with disabilities an opportunity to participate in or benefit from the goods,




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services, facilities, privileges, advantages, or accommodation, which is equal to the

opportunities afforded to other individuals. 42 U.S.C. § 12182(b)(1)(A)(ii).

       48.      Under Title III of the ADA, unlawful discrimination also includes, among

other things:

       [A] failure to make reasonable modifications in policies, practices, or
       procedures, when such modifications are necessary to afford such goods,
       services, facilities, privileges, advantages, or accommodations to
       individuals with disabilities, unless the entity can demonstrate that making
       such modifications would fundamentally alter the nature of such goods,
       services, facilities, privileges, advantages or accommodations; and a
       failure to take such steps as may be necessary to ensure that no individual
       with a disability is excluded, denied services, segregated or otherwise
       treated differently than other individuals because of the absence of
       auxiliary aids and services, unless the entity can demonstrate that taking
       such steps would fundamentally alter the nature of the good, service,
       facility, privilege, advantage, or accommodation being offered or would
       result in an undue burden.

42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

       49.      These acts violate Title III of the ADA, and the regulations promulgated

thereunder. Plaintiff Fischler, who is a member of a protected class of persons under Title

III of the ADA, has a physical disability that substantially limits the major life activity of

sight within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A). Furthermore, he has been

denied full and equal access to the Website, has not been provided services that are

provided to other patrons who are not disabled, and has been provided services that are

inferior to the services provided to non-disabled persons.

       50.      Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set

forth and incorporated therein, Plaintiff Fischler requests the relief as set forth below.




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                                SECOND CAUSE OF ACTION
                               VIOLATIONS OF THE NYSHRL

        51.     Plaintiff Fischler, individually and on behalf of the New York Subclass

Members, repeats and realleges every allegation of the preceding paragraphs as if fully

set forth herein.

        52.     Defendant’s Website is a commercial marketplace and constitutes a sales

establishment and public accommodation under N.Y. Exec. Law § 292(9). Defendant’s

Website is a service, privilege or advantage of Defendant’s online retail operations.

Defendant’s Website is a service that is by and integrated with these online retail

operations.

        53.     Defendant is subject to NYSHRL because it owns and operates its New

York online retail operations and the Website. Defendant is a “person” within the

meaning of N.Y. Exec. Law § 292(1).

        54.     Defendant is violating the NYSHRL in refusing to update or remove

access barriers to its Website, causing its Website and the services integrated with its

online retail operations to be completely inaccessible to the blind. This inaccessibility

denies blind patrons full and equal access to the facilities, goods and services that

Defendant makes available to the non-disabled public. N.Y. Exec. Law §§ 296(2)(a),

296(2)(c)(i), 296(2)(c)(ii).

        55.     Readily available, well-established guidelines exist on the Internet for

making websites accessible to the blind and visually impaired. These guidelines have

been followed by other large business entities and government agencies in making its

websites accessible, including but not limited to: adding alt-text to graphics and ensuring

that all functions can be performed using a keyboard. Incorporating the basic components



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to make its Website accessible would neither fundamentally alter the nature of its

business nor result in an undue burden to them.

       56.     Defendant’s actions constitute willful intentional discrimination against

the class because of a disability, violating the NYSHRL, N.Y. Exec. Law § 296(2), in

that Defendant has:

               a.      Constructed and maintained a website that is inaccessible to Class

Members with knowledge of the discrimination; and/or

               b.      Constructed and maintained a website that is sufficiently intuitive

and/or obvious that is inaccessible to blind class members; and/or

               c.      Failed to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind class members.

       57.     Defendant discriminates, and will continue in the future to discriminate

against Plaintiff Fischler and New York Subclass Members on the basis of disability in

the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

accommodations and/or opportunities of Defendant’s Website and its online retail

operations under § 296(2) et seq. and/or its implementing regulations. Unless the Court

enjoins Defendant from continuing to engage in these unlawful practices, Plaintiff and

the New York Subclass Members will continue to suffer irreparable harm.

       58.     As Defendant’s actions violate the NYSHRL, Plaintiff Fischler seeks

injunctive relief to remedy the discrimination, compensatory damages, civil penalties and

fines under N.Y. Exec. Law § 297(4)(c) et seq. for every offense, and reasonable

attorneys’ fees and costs.




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                               THIRD CAUSE OF ACTION
                             VIOLATIONS OF THE NYCHRL

        59.     Plaintiff Fischler, individually and on behalf the New York City Subclass

Members, repeats and realleges every allegation of the preceding paragraphs as if fully

set forth herein.

        60.     Defendant’s Website is a commercial marketplace and constitutes a sales

establishment and public accommodation under the NYCHRL, N.Y.C. Admin. Code § 8-

102(9), and its Website is a service that is integrated with its online retail operations.

        61.     Defendant is subject to NYCHRL because it owns and operates its

Website and its online retail operations, making it a person under N.Y.C. Admin. Code §

8-102(1).

        62.     Defendant is violating the NYCHRL in refusing to update or remove

access barriers to its Website, causing its Website and the services integrated with its

online retail operations to be completely inaccessible to the blind. This inaccessibility

denies blind patrons full and equal access to the facilities, goods, and services that

Defendant makes available to the non-disabled public. N.Y.C. Admin. Code §§ 8-

107(4)(a), 8-107(15)(a).

        63.     Defendant’s actions constitute willful intentional discrimination against

the Subclass because of a disability, violating the NYCHRL, N.Y.C. Admin. Code § 8-

107(4)(a) and § 8-107(15)(a,) in that it has:

                a.     Constructed and maintained a website that is inaccessible to blind

class members with knowledge of the discrimination; and/or

                b.     Constructed and maintained a website that is sufficiently intuitive

and/or obvious that is inaccessible to blind class members; and/or



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               c.      Failed to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind class members.

       64.     As such, Defendant discriminates, and will continue in the future to

discriminate against Plaintiff Fischler and the New York City Subclass Members because

of disability in the full and equal enjoyment of the goods, services, facilities, privileges,

advantages, accommodations and/or opportunities of its Website and its establishments

under § 8-107(4)(a) and/or its implementing regulations. Unless the Court enjoins

Defendant from continuing to engage in these unlawful practices, Plaintiff and the New

York City Subclass will continue to suffer irreparable harm.

       65.     As Defendant’s actions violate the NYCHRL, Plaintiff Fischler seeks

injunctive relief to remedy the discrimination, compensatory damages, civil penalties and

fines for each offense, and reasonable attorneys’ fees and costs. N.Y.C. Admin. Code §§

8-120(8), 8-126(a).

                             FOURTH CAUSE OF ACTION
                               DECLARATORY RELIEF

       66.     Plaintiff Fischler, individually and on behalf the Class Members, repeats

and realleges every allegation of the preceding paragraphs as if fully set forth herein.

       67.     An actual controversy has arisen and now exists between the parties in that

Plaintiff Fischler contends, and is informed and believes that Defendant denies, that its

Website contains access barriers denying blind customers the full and equal access to the

goods, services and facilities of its Website and by extension its online retail operations

and membership services, which Defendant owns, operates and controls, fails to comply

with applicable laws including, but not limited to, Title III of the Americans with




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Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C.

Admin. Code § 8-107, et seq. prohibiting discrimination against the blind.

       68.     A judicial declaration is necessary and appropriate now in order that each

of the parties may know its respective rights and duties and act accordingly.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Fischler respectfully requests this Court grant the

following relief:

               a.     A preliminary and permanent injunction to prohibit Defendant

from violating Title III of the ADA, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296,

et seq., N.Y.C. Admin. Code § 8-107, et seq., and the laws of New York;

               b.     A preliminary and permanent injunction requiring Defendant to

take all the steps necessary to bring its Website into full compliance with the

requirements set forth in Title III of the ADA, and its implementing regulations, so that

the Website is readily accessible to and usable by blind individuals;

               c.     A declaration that Defendant owns, maintains and/or operates the

Website in a manner that discriminates against the blind and which fails to provide access

for persons with disabilities as required by ADA, 42 U.S.C. §§ 12182, et seq., N.Y. Exec.

Law § 296, et seq., N.Y.C. Admin. Code § 8-107, et seq., and the laws of New York

               d.     An order certifying the Class and Subclasses under Fed. R. Civ. P.

23(a) & (b)(2) and/or (b)(3), appointing Plaintiff as Class Representative, and his

attorneys as Class Counsel;

               e.     Compensatory damages in an amount to be determined by proof,

including all applicable statutory damages, punitive damages and fines;




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               f.     Pre- and post-judgment interest;

               g.     An award of costs and expenses of this action together with

reasonable attorneys’ and expert fees; and

               h.     Such other and further relief as this Court deems just and proper.

                              DEMAND FOR TRIAL BY JURY

       Pursuant to Fed. R. Civ. P. 38(b), Plaintiff Fischler demands a trial by jury on all

questions of fact the Complaint raises.

Dated: New York, New York
       January 5, 2022

                                      LIPSKY LOWE LLP

                                      s/ Douglas B. Lipsky
                                      Douglas B. Lipsky
                                      Christopher H. Lowe
                                      420 Lexington Avenue, Suite 1830
                                      New York, New York 10017-6705
                                      Tel: 212.392.4772
                                      doug@lipskylowe.com
                                      chris@lipskylowe.com

                                      Attorneys for Plaintiff




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